                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN


 ANNETTE SCHIMMING, as Personal
 Representative of the Estate of GERALD
 MIELKE,

        Plaintiff,                                     No. 2:21-cv-00135

 v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

        Defendant.


                               PLAINTIFF’S MOTION TO STAY

        COMES NOW, Plaintiff Annette Schimming, as Personal Representative of the Estate of

Gerald Mielke (“plaintiff”), moves to stay proceedings, and states as follows:

        1.      Plaintiff respectfully moves this Court to stay all discovery and other proceedings

pending the resolution of Plaintiff’s motion to transfer under 28 U.S.C. § 1407 by the Judicial

Panel on Multidistrict Litigation (“JPML”). Plaintiff’s motion under section 1407, has been

scheduled for hearing on July 29, 2021, and if granted, will result in the transfer and coordination

of 19 similar federal Tasigna product liability cases currently pending in 12 different federal

districts.

        2.      Plaintiff believes there is a high probability that the motion to transfer will be

granted, especially given that over 160 similar Tasigna products liability cases pending in New

Jersey state court were recently transferred and consolidated before a single judge in New Jersey

under the State’s multi-county litigation (“MCL”) rules. This New Jersey MCL consolidation,

together with the requested federal consolidation, creates a unique opportunity for a coordination



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of the global Tasigna products liability litigation, which will create many efficiencies that will

greatly benefit all Courts and parties involved, as well as eliminate the potential for conflicting

rulings in different Courts on the same issues.

        3.      The interests of judicial economy strongly favor a stay of these proceedings

pending resolution of the motion to transfer. The collective plaintiffs in all pending Tasigna

products liability litigation are at an impasse with Defendant Novartis Pharmaceuticals

Corporation (“Novartis”) regarding Novartis’s production of what will be millions of pages of

documents, and thus Court intervention is necessary. If the motion to transfer is granted, one

federal judge will rule on these production issues, hopefully in coordination with the New Jersey

State Court judge presiding over the MCL.

        4.      Absent a stay, Plaintiff will be forced to file a complicated motion to compel in

this case, simultaneous with similar motions to compel filed by other Tasigna plaintiffs in other

federal courts. This will require a significant amount of judicial resources across multiple courts

and will undoubtedly lead to inconsistent rulings because the motions will address several

categories of document requests. Only a stay can avoid this potential waste of resources and the

short delay contemplated of less than 60 days will result in no prejudice to Novartis or Plaintiff.

        5.      Plaintiff has met and conferred with Novartis’s counsel to seek agreement on a

stay, but the Novartis’s counsel has indicated that Novartis will oppose any efforts to stay the

case.

        6.      In further support of this motion, Plaintiff incorporates its supporting brief and the

Declaration of Richard M. Elias filed simultaneously herewith.




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       WHEREFORE, Plaintiff requests that the Court issue an order staying all proceedings

pending the resolution of the motion to transfer under section 1407 and for any other relief the

Court deems just and proper.

               Dated: June 21, 2021                  Respectfully submitted,

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                                                     Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

      I certify that on July 6, 2021 a copy of the foregoing was served on all counsel of record

via the Court’s CM/ECF system.

                                            /s/ Scott J. Curtis




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